Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 1 of 41            FILED
                                                                2016 Jun-15 PM 12:32
                                                                U.S. DISTRICT COURT
                                                                    N.D. OF ALABAMA
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 2 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 3 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 4 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 5 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 6 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 7 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 8 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 9 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 10 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 11 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 12 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 13 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 14 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 15 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 16 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 17 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 18 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 19 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 20 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 21 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 22 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 23 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 24 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 25 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 26 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 27 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 28 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 29 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 30 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 31 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 32 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 33 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 34 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 35 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 36 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 37 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 38 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 39 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 40 of 41
Case 7:16-cv-00979-LSC Document 1 Filed 06/15/16 Page 41 of 41
